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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             Case No.: 20-22746-CV-UNGARO


 CARLOS FERNANDEZ, et. al.

        Plaintiff

 v.

 CHECK ALT ERAS INC. and
 SHAI STERN

        Defendant
                                          /

               PLAINTIFF’s MOTION FOR EXTENSION OF TIME
      TO RESPOND TO MOTION TO DISMISS SECOND AMENDED COMPLAINT

        Plaintiff, by and through its undersigned counsel hereby seeks an extension of time to

 respond to Defendants’ Motion to Dismiss Second Amended Complaint and states as follows:

        1. Defendants’ filed a Motion to Dismiss the Second Amended Complaint in this matter.

            A response was due to the Motion to Dismiss on or before December 16, 2020.

        2. The undersigned previously requested a three-business day extension of time to

            respond to the Motion to Dismiss in light of the undersigned’s work-load during this

            week. This Court graciously provided two additional days to respond to the Motion

            to Dismiss. Unfortunately, the undersigned has been in mediations on December 17

            and 18, 2020, for most of each day which did not provide the opportunity to complete

            the Response to Motion to Dismiss Second Amended Complaint.

        3. Accordingly, the undersigned counsel requests one additional business day, until

            December 21, 2020 to file the Response to Motion to Dismiss Second Amended

            Complaint.
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        4. In accordance with the Local Rules of this Court, the undersigned counsel

            communicated with opposing counsel with regard to his position on the prior

            extension. He never responded to the email and in light of prior representations that

            no professional courtesies will be extended, its assumed that opposing counsel objects

            to this requested extension.

        5. Plaintiff respectfully requests an extension of time until December 21, 2020 to respond

            to the Motion to Dismiss Second Amended Complaint in this matter.

        WHERFORE, Plaintiff requests that this Court enter an Order granting extension of time

 until December 21, 2020, to respond to the pending Motion to Dismiss Second Amended

 Complaint and for any other relief this Court deems just and proper under the circumstances.

                                      Certificate of Service

        I HERERBY CERTIFY that a true and correct copy of the foregoing was served on this

 18 day of August 2020, electronically upon opposing counsel: Laurie A. Perez, Esq., 200 South

 Michigan Ave., Suite 1100, Chicago, IL 60604.

                              BEHREN LAW FIRM
                              1930 N. Commerce Parkway
                              Suite 4
                              Weston, FL 33326
                              (954) 636-3802

                              By:_/Scott M. Behren/
                              Scott M. Behren
                              Fla. Bar 987786
